Case: 1:22-cv-00084-MWM Doc #: 83-5 Filed: 08/15/22 Page: 1 of 5 PAGEID #: 4641




                  Exhibit 5
 Case: 1:22-cv-00084-MWM Doc #: 83-5 Filed: 08/15/22 Page: 2 of 5 PAGEID #: 4642




                   DECLARATION OF DR. BRUCE M. MCCLENATHAN

I, Bruce M. McClenathan, hereby state and declare as follows:

1.      I am a regional medical director of the Defense Health Agency-Immunization Healthcare

Division (DHA-IHD) stationed at Fort Bragg, North Carolina. During the development of the

Novavax NVX-CoV2373 vaccine, I was a member of the DHA and Preventive Medicine

Services COVID-19 Vaccine Implementation Plan Team.

2.      I am generally aware of the allegations set forth in the pleadings filed in this matter. I

make this declaration in my official capacity as DHA-IHD regional director and based upon my

personal knowledge and upon information that has been provided to me in the course of my

official duties.

3.      Attached as Exhibit A is a true and correct copy of the memorandum, titled Novavax

COVID-19 Vaccine (NVX-CoV2373)-Information on Fetal Cell/Fetal Tissue, that I received

from Dr. Gale Smith, PhD, Senior Vice President for Discovery and Pre-clinical Research, and

Chief Scientist at Novavax, on or about 12 January 2022 in the course of my work on the

COVID-19 Vaccine Implementation Plan Team.

4.      Novavax is available across the Department of Defense.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct. Executed this 5th day of August 2022.
                                                                              Digitally signed by
                                                       MCCLENATHAN.BR MCCLENATHAN.BRUCE.M.10755
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                                                       BRUCE M. MCCLENATHAN
                                                       Regional Director
                                                       Immunization Healthcare Division
Case: 1:22-cv-00084-MWM Doc #: 83-5 Filed: 08/15/22 Page: 3 of 5 PAGEID #: 4643




                       Exhibit A
Case: 1:22-cv-00084-MWM Doc #: 83-5 Filed: 08/15/22 Page: 4 of 5 PAGEID #: 4644

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novavax :
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           Novavax COVID-19 Vaccine (NVX-CoV2373}-lnformation on Fetal Cell/Fetal Tissue

Novavax Medical Information is providing you this information in response to your request for
medical information. You requested information regarding the use of fetal tissue or fetal cell
lines in the development, confirmation, or production stages of the Novavax COVID-19 vaccine
(NVX-CoV2373}.

Novavax COVID-19 Vaccine Development

Novavax' NVX-CoV2373 vaccine is a recombinant protein vaccine, comprised of the severe
acute respiratory syndrome coronavirus 2 (SARS-CoV-2) spike glycoproteins and a saponin
based Matrix-M adjuvant. 2 The Novavax NVX-CoV2373 is produced in insect cells, not
mammalian cells.

A genetic sequence for the coronavirus spike protein is cloned into the baculovirus and then
infects the Sf9 insect cells to produce the spike protein antigen that is subsequently purified by
filtration and chromatography. The saponin based Matrix-M adjuvant is based on the Quillaja
saponaria Molina bark together with cholesterol and phospholipids. The adjuvant is designed to
increase the immune response to the rSARS-CoV-2 protein. 2

Animal or fetal-derived cell lines/tissue are not used in the manufacturing, testing, or
production of the Novavax COVID-19 vaccine (NVX-CoV2373) administered in the clinical trials.

In early development, pre-clinical evaluation was conducted to compare the structural integrity
of the SARS-CoV-2 spike protein produced in the Sf9 insect cells versus the spike protein
produced in the mammalian immortalized human embryonic kidney HEK 293F cells. The
comparison determined the Sf9 cell technology produced spike proteins that were comparable
in structural integrity as the spike proteins produced in the HEK 293F cell. 4 These pre-clinical
experiments were conducted using purified SARS CoV-2 spike protein produced by a vendor
separate from Novavax in a facility separate from where NVX-CoV2373 is manufactured and the
assays did not employ fetal cells or tissues. Thus, no fetal cells or tissues are utilized at any time
during the production or testing of NVX-CoV2373.



REFERENCE(S):

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Case: 1:22-cv-00084-MWM Doc #: 83-5 Filed: 08/15/22 Page: 5 of 5 PAGEID #: 4645




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     Dr. Gale Smith, PhD
     Senior Vice President
     Discovery and Pre-clinical Research
     Chief Scientist




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CNtatlng tomorrow'•
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